                    Case 21-04729            Doc 1       Filed 04/09/21 Entered 04/09/21 15:46:27                              Desc Main
                                                           Document     Page 1 of 25

Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF ILLINOIS

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Crave Brands, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  444 W. Lake Street, 17th Floor
                                  Chicago, IL 60606
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Cook                                                            Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
                    Case 21-04729                Doc 1      Filed 04/09/21 Entered 04/09/21 15:46:27                                    Desc Main
                                                              Document     Page 2 of 25
Debtor    Crave Brands, LLC                                                                            Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                 page 2
                    Case 21-04729                   Doc 1         Filed 04/09/21 Entered 04/09/21 15:46:27                                Desc Main
                                                                    Document     Page 3 of 25
Debtor    Crave Brands, LLC                                                                               Case number (if known)
          Name

10. Are any bankruptcy cases                 No
    pending or being filed by a
    business partner or an                   Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                          Debtor      Meathead Restaurants, LLC                                     Relationship               affiliate
                                                                 Northen District of
                                                     District    Illinois              When             4/09/21                Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                 No
    have possession of any
    real property or personal                       Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                           Yes.
    property that needs
    immediate attention?                            Why does the property need immediate attention? (Check all that apply.)
                                                       It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                      What is the hazard?
                                                       It needs to be physically secured or protected from the weather.
                                                       It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                      livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                       Other
                                                    Where is the property?
                                                                                     Number, Street, City, State & ZIP Code
                                                    Is the property insured?
                                                       No
                                                       Yes.     Insurance agency
                                                                Contact name
                                                                Phone



          Statistical and administrative information

13. Debtor's estimation of             .         Check one:
    available funds
                                                    Funds will be available for distribution to unsecured creditors.
                                                    After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                    1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                               5001-10,000                                 50,001-100,000
                                           50-99
                                           100-199                                          10,001-25,000                               More than100,000
                                           200-999

15. Estimated Assets                       $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                           $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                           $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                           $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion



Official Form 201                                  Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
                    Case 21-04729    Doc 1        Filed 04/09/21 Entered 04/09/21 15:46:27                      Desc Main
                                                    Document     Page 4 of 25
Debtor   Crave Brands, LLC                                                           Case number (if known)
         Name


16. Estimated liabilities     $0 - $50,000                               $1,000,001 - $10 million             $500,000,001 - $1 billion
                              $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                              $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                              $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




Official Form 201                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 4
Case 21-04729   Doc 1   Filed 04/09/21 Entered 04/09/21 15:46:27   Desc Main
                          Document     Page 5 of 25
Case 21-04729   Doc 1   Filed 04/09/21 Entered 04/09/21 15:46:27   Desc Main
                          Document     Page 6 of 25
Case 21-04729             Doc 1   Filed 04/09/21 Entered 04/09/21 15:46:27   Desc Main
                                    Document     Page 7 of 25




         MEATHEAD RESTAURANTS, LLC
         CONSOLIDATED BALANCE SHEET
                 UNAUDITED
AS OF PERIOD 3                                       3/21/2021

CURRENT ASSETS
     Cash                                        $       104,427
     Deposits                                    $         5,440
     Receivables                                 $        60,947
     Inventory                                   $        92,776
     Prepaid Expense                             $        49,687
     Total Current Assets                        $       313,277

PROPERTY AND EQUIPMENT
     Gross Property and Equipment                $      3,091,543
     Intellectual Property                       $         81,840
     Goodwill                                    $      3,742,020
     Accumulated Depreciation and Amortization   $       (495,959)
     Net Property and Equipment                  $      6,419,444

OTHER ASSETS
    Due from Licensee                            $            566
    Pre-Opening Expense                          $            609
    Due from Employee Advance                    $            -
    Investment in Meathead Franchising, LLC      $              10
    Suspense                                     $           (417)
    Total Other Assets                           $            768

      TOTAL ASSETS                               $      6,733,490

CURRENT LIABILITIES
     Accounts Payable                            $       308,533
     Gift Certificate Liability                  $       115,773
     Sales Tax Payable                           $        21,994
     Accrued Expense                             $        42,946
     Defered Salary                              $       104,616
     Total Current Liabilities                   $       593,862

LONG TERM LIABILITES
     LQD                                         $      6,650,000
     PPP Loan                                    $        982,113
     EIDL Loan                                   $        149,900
     Deferred Rent                               $         59,172
     Total Other Liabilities                     $      7,841,185

      TOTAL LIABILITIES                          $      8,435,047

MEMBERS' EQUITY
    Capital                                      $      1,500,100
    Retained Earnings                            $     (2,087,426)
    Current Earnings                             $     (1,114,231)
    Total Members' Equity                        $     (1,701,557)

      TOTAL LIABILITES AND MEMBERS'S EQUITY      $      6,733,490
                                                               Case 21-04729                               Doc 1                  Filed 04/09/21 Entered 04/09/21 15:46:27                                                   Desc Main
                                                                                                                                    Document     Page 8 of 25


 Store:         Consolidated                                                                                            2021                                                                                  YTD
Report:         P&L
                                             Period:                          1                                               2                                            3                            YTD
                                         Start Dates:                   12/28/20                                        1/25/21                                          2/22/21                      12/28/20
                                             End Date:                   1/24/21                                        2/21/21                                          3/21/21                       3/21/21
                                                            ACTUAL                   PROJECTED              ACTUAL                   PROJECTED              ACTUAL                 PROJECTED
REVENUE
           Sales Channel
                 Instore/Takeout                         437,699      47.6%        423,509     48.4%    $ 439,409     51.7%        493,250     55.1%    $ 552,041     55.7%    532,720     58.7%      1,429,149      51.8%
                 Drive Thru                              241,502      26.3%        227,100     26.0%    $ 199,666     23.5%        173,900     19.4%    $ 223,054     22.5%    176,300     19.4%        664,222      24.1%
                 Delivery                                239,690      26.1%        223,936     25.6%    $ 211,457     24.9%        227,850     25.5%    $ 215,421     21.7%    198,980     21.9%        666,568      24.2%
                Total Revenue                            918,891     100.0%        874,545    100.0%      850,532    100.0%        895,000    100.0%      990,516    100.0%    908,000    100.0%      2,759,939     100.0%
                                         YoY Change                   -7.9%                   -12.4%                 -21.6%                   -16.5%                   6.6%                -0.1%


EXPENSES
           Cost of Sales
                Food                                     219,734      23.9%        209,891     24.0%      199,214     23.4%        214,800     24.0%      233,701   $-         217,920     24.0%       652,649       23.6%
                Paper                                     27,771       3.0%         26,236       3.0%      25,396      3.0%         26,850       3.0%      29,384      3.0%     27,240         3.0%     82,550        3.0%
                Coke Rebate                                    -       0.0%         (5,307)    -0.6%            -      0.0%         (5,307)    -0.6%            -      0.0%     (5,307)    -0.6%             -        0.0%
                Total Cost of Sales                      247,505      26.9%        230,820     26.4%      224,609     26.4%        241,650     27.0%      263,085     26.6%    245,160     27.0%       735,199       26.6%


           Labor Cost
                Salaries & Wages                         255,889      27.8%        242,007     27.7%      240,643     28.3%        247,451     27.6%      251,743     25.4%    251,191     27.7%       748,275       27.1%
                Employee Benefits                         40,416       4.4%         34,680      4.0%       37,656      4.4%         35,411      4.0%       37,484      3.8%     35,948      4.0%       115,556        4.2%
                Total Labor Cost                         296,305      32.2%        276,686     31.6%      278,298     32.7%        282,862     31.6%      289,227     29.2%    287,139     31.6%       863,831       31.3%


           Gross Profit                                  375,080      40.8%        367,038     42.0%      347,624     40.9%        370,488     41.4%      438,204     44.2%    375,701     41.4%      1,160,909      42.1%


           Other Operating Costs
               Aprons/Towels                               2,475       0.3%          2,400       0.3%       2,892      0.3%          2,400       0.3%       2,604      0.3%      2,400         0.3%      7,972        0.3%
               Uniforms                                    2,054       0.2%          1,200       0.1%         224      0.0%          1,200       0.1%       1,054      0.1%      1,200         0.1%      3,333        0.1%
               Restaurant Supplies                        16,393       1.8%         14,867       1.7%      16,352      1.9%         15,215       1.7%      15,935      1.6%     15,436         1.8%     48,681        1.8%
               Janitorial Supplies                         5,003       0.5%          5,247       0.6%       5,735      0.7%          5,370       0.6%       6,674      0.7%      5,448         0.6%     17,411        0.6%
               Contract Cleaning                             855       0.1%          1,200       0.1%         765      0.1%          1,200       0.1%         810      0.1%      1,200         0.1%      2,430        0.1%
               Pest Control                                  384       0.0%            600       0.1%         526      0.1%            600       0.1%         190      0.0%        600         0.1%      1,100        0.0%
               Music                                         738       0.1%            738       0.1%         738      0.1%            738       0.1%       1,476      0.1%        738         0.1%      2,952        0.1%
               Retail Tax/Fees Paid                        2,947       0.3%          2,449       0.3%       2,492      0.3%          2,506       0.3%       2,438      0.2%      2,542         0.3%      7,877        0.3%
               Direct Operating Costs                     30,849       3.4%         28,701       3.3%      29,725      3.5%         29,229       3.3%      31,182      3.1%     29,564         3.4%     91,756        3.3%
               Comps                                      10,044       1.1%          2,751       0.3%       3,835      0.5%          4,475       0.5%       4,301      0.4%      4,540         0.5%     18,179        0.7%
               Promos                                      8,044       0.9%         14,421       1.6%       5,264      0.6%          8,299       0.9%       8,335      0.8%      9,080         1.0%     21,643        0.8%
               Charitable Contributions                        -       0.0%              -       0.0%           -      0.0%              -       0.0%           -      0.0%          -         0.0%          -        0.0%
               Marketing/Comps/Promos                     18,088       2.0%         17,172       2.0%       9,099      1.1%         12,774       1.5%      12,636      1.3%     13,620         1.6%     39,823        1.4%
               Worker's Comp                               3,209       0.3%          3,600       0.4%       3,209      0.4%          3,600       0.4%       3,209      0.3%      3,600         0.4%      9,628        0.3%
               Employee Discount                           7,581       0.8%          8,745       1.0%       6,931      0.8%          8,950       1.0%       6,549      0.7%      9,080         1.0%     21,060        0.8%
               Credit Card Expense                        18,441       2.0%         17,491       2.0%      16,921      2.0%         17,900       2.0%      19,585      2.0%     18,160         2.1%     54,948        2.0%
               Dues & Subscriptions                           75       0.0%            420       0.0%           -      0.0%            420       0.0%         220      0.0%        420         0.0%        295        0.0%
               Protection/Security                           815       0.1%            816       0.1%       1,375      0.2%            816       0.1%         815      0.1%        816         0.1%      3,006        0.1%
               Office Supplies                             2,193       0.2%          1,749       0.2%       1,793      0.2%          1,790       0.2%       1,826      0.2%      1,816         0.2%      5,812        0.2%
               Taxes & Licenses                              496       0.1%            406       0.0%         306      0.0%            406       0.0%         381      0.0%        406         0.0%      1,183        0.0%
               Cash Over/Short                               199       0.0%              -       0.0%          56      0.0%              -       0.0%         338      0.0%          -         0.0%        593        0.0%
               General & Administrative                   33,010       3.6%         33,228       3.8%      30,591      3.6%         33,882       3.9%      32,924      3.3%     34,298         3.9%     96,524        3.5%
               Maintenance                                 9,212       1.0%          8,745       1.0%       7,777      0.9%          8,950       1.0%      12,347      1.2%      9,080         1.0%     29,336        1.1%
               Utilities                                  29,215       3.2%         30,000      3.4%       30,151      3.5%         30,000      3.4%       29,338      3.0%     30,000      3.4%        88,704        3.2%
               Rent & Related                            103,894      11.3%        112,242     12.8%      114,017     13.4%        112,242     12.8%      114,068     11.5%    112,242     12.8%       331,980       12.0%
               Total Other Operating Costs               224,269      24.4%        230,088     26.3%      221,360     26.0%        227,078     26.0%      232,494     23.5%    228,805     26.2%       678,123       24.6%


RESTAURANT PROFIT                                        150,812      16.4%        136,950     15.7%      126,265     14.8%        143,411     16.4%      205,710     20.8%    146,896     16.8%       482,786       17.5%
                                               Case 21-04729                   Doc 1             Filed 04/09/21 Entered 04/09/21 15:46:27                                     Desc Main
                                                                                                   Document     Page 9 of 25


CORPORATE G&A
        PAYROLL & RELATED
            Accounting                    2,500     0.3%     2,500     0.3%    2,500      0.3%      2,500     0.3%     2,500     0.3%     2,500     0.3%     7,500    0.3%
            Bonus(Ops Management)             -     0.0%         -     0.0%        -      0.0%          -     0.0%         -     0.0%         -     0.0%         -    0.0%
            Administration               13,846     1.5%    13,846     1.6%   13,846      1.6%     13,846     1.5%    13,846     1.4%    13,846     1.5%    41,538    1.5%
            GM Training                     258     0.0%       500     0.1%        -      0.0%        500     0.1%       184     0.0%       500     0.1%       442    0.0%
            Group Insurance               1,104     0.1%     2,000             1,750      0.2%      2,000              1,547     0.2%     2,000              4,401    0.2%
            HR/Recruiting                   708     0.1%       300     0.2%       19      0.0%        300     0.2%         -     0.0%       300     0.2%       727    0.0%
            Operations                   10,539     1.1%    10,539     1.2%    9,286      1.1%     10,539     1.2%     5,000     0.5%    10,539     1.2%    24,825    0.9%
            Vacation                          -     0.0%       288     0.0%        -      0.0%        288     0.0%         -     0.0%       288     0.0%         -    0.0%
            Payroll Processing            1,594     0.2%     1,700     0.2%    1,564      0.2%      1,700     0.2%     2,036     0.2%     1,700     0.2%     5,194    0.2%
            Payroll Tax                     972     0.1%       700     0.1%      964      0.1%        700     0.1%       964     0.1%       700     0.1%     2,901    0.1%
            Unemployment Insurance          480     0.1%       200     0.0%      444      0.1%        200     0.0%       311     0.0%       200     0.0%     1,235    0.0%
            WOTC Fee                          -     0.0%         -     0.0%        -      0.0%          -     0.0%         -     0.0%         -     0.0%         -    0.0%
            Worker's Comp                    55     0.0%        55     0.0%       55      0.0%         55     0.0%        55     0.0%        55     0.0%       165    0.0%
            Total Payroll & Related      32,056     3.5%    32,628     3.7%   30,428      3.6%     32,628     3.6%    26,443     2.7%    32,628     3.6%    88,927    3.2%
OTHER G&A
            Advertising/Marketing         5,342     0.6%     4,000     0.5%     3,523     0.4%      4,000     0.4%     3,027     0.3%     4,000     0.4%    11,891    0.4%
            Automobile Expense              175     0.0%       500     0.1%       518     0.1%        500     0.1%       756     0.1%       500     0.1%     1,449    0.1%
            Bank/NCR Fee                  3,107     0.3%     3,057     0.3%     3,013     0.4%      3,057     0.3%     3,206     0.3%     3,057     0.3%     9,326    0.3%
            Late Fee/Penalties                -     0.0%         -     0.0%         -     0.0%          -     0.0%         -     0.0%         -     0.0%         -    0.0%
            Charitable Comps                200     0.0%       200     0.0%       200     0.0%        200     0.0%         -     0.0%       200     0.0%       400    0.0%
            Corporate Comps                 200     0.0%       100     0.0%         -     0.0%        100     0.0%         -     0.0%       100     0.0%       200    0.0%
            Delivery & Marketing Fees    53,645     5.8%    49,266     5.6%    43,443     5.1%     50,127     5.6%    45,045     4.5%    43,776     4.8%   142,134    5.1%
            Dues & Subscriptions             48     0.0%       100     0.0%        49     0.0%        100     0.0%         -     0.0%       100     0.0%        97    0.0%
            Taxes & Licenses                109     0.0%       100     0.0%        76     0.0%        100     0.0%        76     0.0%       100     0.0%       262    0.0%
            IT/POS Maintenance            2,271     0.2%     2,460     0.3%     2,271     0.3%      2,460     0.3%     2,271     0.2%     2,460     0.3%     6,812    0.2%
            Software License              2,021     0.2%     2,389     0.3%     2,021     0.2%      2,389     0.3%     1,911     0.2%     2,389     0.3%     5,953    0.2%
            Legal & Accounting            3,113     0.3%     3,000     0.3%     3,113     0.4%      3,000     0.3%     3,113     0.3%     3,000     0.3%     9,338    0.3%
            Mobile App Fees               2,473     0.3%     2,457     0.3%     2,468     0.3%      2,457     0.3%     1,899     0.2%     2,457     0.3%     6,841    0.2%
            Meals/Entertainment               -     0.0%       200     0.0%       378     0.0%        200     0.0%         -     0.0%       200     0.0%       378    0.0%
            Miscellaneous                 1,541     0.2%     2,615     0.3%   (20,927)   -2.5%      2,615     0.3%   (38,567)   -3.9%     2,615     0.3%   (57,953)   -2.1%
            Phone                             -     0.0%       100     0.0%         -     0.0%        100     0.0%         -     0.0%       100     0.0%         -    0.0%
            Postage                         301     0.0%       100     0.0%       432     0.1%        100     0.0%         -     0.0%       100     0.0%       733    0.0%
            POS Lease                     2,124     0.2%     2,124     0.2%     1,722     0.2%      1,720     0.2%     1,720     0.2%     1,720     0.2%     5,566    0.2%
            Rent                          1,835     0.2%     1,825     0.2%     1,825     0.2%      1,825     0.2%     1,825     0.2%     1,825     0.2%     5,485    0.2%
            Shoes for Crews                 (77)    0.0%         -     0.0%         -     0.0%          -     0.0%         9     0.0%         -     0.0%       (69)   0.0%
            Storage                         482     0.1%       500     0.1%       491     0.1%        500     0.1%       858     0.1%       500     0.1%     1,830    0.1%
            Supplies & Printing           4,045     0.4%     4,000     0.5%     3,826     0.4%      4,000     0.4%     1,799     0.2%     4,000     0.4%     9,670    0.4%
            Travel                           46     0.0%         -     0.0%         -     0.0%          -     0.0%         -     0.0%         -     0.0%        46    0.0%
            Total Other G&A              82,999     9.0%    79,093     9.0%    48,441     5.7%     79,550     8.9%    28,948     2.9%    73,199     8.1%   160,388    5.8%


              Total Corporate G&A       115,055    12.5%   111,722    12.8%   78,869      9.3%    112,179    12.5%    55,390     5.6%   105,827    11.7%   249,315    9.0%


COMPANY EBITDA                           35,756     3.9%    25,229     2.9%   47,395      5.6%     31,232     3.5%   150,320    15.2%    41,069     4.5%   233,471    8.5%


         Depreciation                         -     0.0%         -     0.0%         -     0.0%          -     0.0%         -     0.0%         -     0.0%         -    0.0%
         Amortization                         -     0.0%         -     0.0%         -     0.0%          -     0.0%         -     0.0%         -     0.0%         -    0.0%
         Well Done Consulting            10,000     1.1%    10,000     1.1%    10,000     1.2%     10,000     1.1%    10,000     1.0%    10,000     1.1%    30,000    1.1%
         EIDL Loan Fees (Deferred)          731     0.1%       731     0.1%         -     0.0%        731     0.1%         -     0.0%       731     0.1%       731    0.0%
         Interest Expense                87,928     9.6%    87,928    10.1%    87,928    10.3%     87,928     9.8%    87,928     8.9%    87,928     9.7%   263,783    9.6%
         NET PROFIT OR (LOSS)           (62,902)   -6.8%   (73,430)           (50,533)   -5.9%    (67,427)            52,392     5.3%   (57,590)           (61,043)   -2.2%
   Case 21-04729         Doc 1     Filed 04/09/21 Entered 04/09/21 15:46:27               Desc Main
                                    Document     Page 10 of 25




Michael Webb
Crave Brands, LLC
444 W Lake Street, 17th Floor
Chicago, IL 60606

Dear Michael,

Enclosed are your 2019 partnership tax returns, as follows…

2019 U.S. Return of Partnership Income

2019 Illinois Return of Partnership Income

2019 Indiana Return of Partnership Income

The enclosed returns were prepared primarily from data and information submitted to us. You should
review the returns to ensure that there are no omissions or misstatements. Upon an audit of the returns, a
request may be made for supporting documentation. Therefore, we recommend that you retain all
pertinent records.

Your copy should be retained for your files.

We appreciate this opportunity to serve you. Please contact us if you have any questions or if we may be
of further assistance.

Sincerely,



Peggy Vyborny
  Case 21-04729         Doc 1       Filed 04/09/21 Entered 04/09/21 15:46:27               Desc Main
                                     Document     Page 11 of 25

                    2019 TAX RETURN FILING INSTRUCTIONS
                                 U.S. RETURN OF PARTNERSHIP INCOME

                                        FOR THE YEAR ENDING
                                          December 29, 2019

Prepared For:
                Michael Webb
                Crave Brands, LLC
                444 W Lake Street, 17th Floor
                Chicago, IL 60606

Prepared By:
                Ostrow Reisin Berk & Abrams, Ltd.
                455 North Cityfront Plaza Drive, Suite 1500
                Chicago, IL 60611-5313
                312-670-7444

To Be Signed and Dated By:

                A member of the LLC

Amount of Tax:

                Not applicable

Send Tax Return To:

                This return has qualified for electronic filing. After you have reviewed your return for
                completeness and accuracy, please sign, date and return Form 8879-PE to our office.
                We will then submit your electronic return to the IRS.

                                                Email to: efile@orba.com

                                                  Or fax: 312-276-8551

Forms to be Distributed to Partners:

                Enclosed are copies of Schedule K-1 to be distributed to the members.

Due Date:
                Return federal Form 8879-PE as soon as possible to us. The return is due by September
                15, 2020.

Special Instructions:

                Do not mail the paper copy of the return to the IRS.
                     Case 21-04729               Doc 1            Filed 04/09/21 Entered 04/09/21 15:46:27                                  Desc Main
                                                                   Document     Page 12 of 25
                                                       IRS e-file Signature Authorization
          8879-PE
                                                                                                                                                 OMB No. 1545-0123

   Form
                                                                  for Form 1065
   Department of the Treasury
                                                      | ERO must obtain and retain completed Form 8879-PE.
                                                     | Go to www.irs.gov/Form8879PE for the latest information.
                                                                                                                                                  2019
   Internal Revenue Service
                                     For calendar year 2019, or tax year beginning   DEC 31    , 2019, ending   DEC 29       ,20   19   .
   Name of partnership                                                                                                             Employer identification number
                         CRAVE BRANDS LLC                                                                                           XX-XXXXXXX
    Part I            Tax Return Information (Whole dollars only)
     1 Gross receipts or sales less returns and allowances (Form 1065, line 1c) ~~~~~~~~~~~~~~~~~~~                                         1    11,868,221.
     2 Gross profit (Form 1065, line 3) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             2     8,388,688.
     3 Ordinary business income (loss) (Form 1065, line 22) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   3    -1,523,179.
     4 Net rental real estate income (loss) (Form 1065, Schedule K, line 2) ~~~~~~~~~~~~~~~~~~~~~~                                          4
     5 Other net rental income (loss) (Form 1065, Schedule K, line 3c)                                              5
    Part II           Declaration and Signature Authorization of Partner or Member
                      (Be sure to get a copy of the partnership's return)
   Under penalties of perjury, I declare that I am a partner or member of the above partnership and that I have examined a copy of the partnership's 2019
   electronic return of partnership income and accompanying schedules and statements and to the best of my knowledge and belief, it is true, correct,
   and complete. I further declare that the amounts in Part I above are the amounts shown on the copy of the partnership's electronic return of
   partnership income. I consent to allow my electronic return originator (ERO), transmitter, or intermediate service provider to send the partnership's
   return to the IRS and to receive from the IRS (a) an acknowledgement of receipt or reason for rejection of the transmission and (b) the reason for any
   delay in processing the return. I have selected a personal identification number (PIN) as my signature for the partnership's electronic return of
   partnership income.

   Partner or Member's PIN: check one box only

          X I authorize OSTROW REISIN BERK & ABRAMS,                                          LTD.                            to enter my PIN          60611
                                                                 ERO firm name                                                                    Don't enter all zeros
                as my signature on the partnership's 2019 electronically filed return of partnership income.
                As a partner or member of the partnership, I will enter my PIN as my signature on the partnership's 2019 electronically filed
                return of partnership income.
   Partner or member's signature |
   Title |     MEMBER                                                                                                                       Date | 9/14/20

    Part III          Certification and Authentication

   ERO's EFIN/PIN. Enter your six-digit EFIN followed by your five-digit self-selected PIN.                36072160611
                                                                                                           Don't enter all zeros
   I certify that the above numeric entry is my PIN, which is my signature on the 2019 electronically filed return of partnership income for the partnership
   indicated above. I confirm that I am submitting this return in accordance with the requirements of Pub. 3112, IRS e-file Application and Participation,
   and Pub. 4163, Modernized e-File (MeF) Information for Authorized IRS e-file Providers for Business Returns.


   ERO's signature | PEGGY            VYBORNY                                                                     Date |   09/14/20

                                                ERO Must Retain This Form - See Instructions
                                        Don't Submit This Form to the IRS Unless Requested To Do So
   For Paperwork Reduction Act Notice, see instructions.                                                                                        Form 8879-PE (2019)
   LHA




   921031 01-13-20


13300914 311101 07218.000                                                             2019.04020 CRAVE BRANDS LLC                                             07218.01
                                                             Case 21-04729                       Doc 1            Filed 04/09/21 Entered 04/09/21 15:46:27                                                 Desc Main
                                                                                                                   Document     Page 13 of 25
Form
                                                 1065                                               U.S. Return of Partnership Income
                                                                                                                                DEC 31                      2018                        DEC 29         2019
                                                                                                                                                                                                                            OMB No. 1545-0123


Department of the Treasury
Internal Revenue Service
                                                                              For calendar year 2019, or tax year beginning                             ,
                                                                                           | Go to www.irs.gov/Form1065 for instructions and the latest information.
                                                                                                                                                                        , ending                   ,                .
                                                                                                                                                                                                                               2019
A                                               Principal business activity                   Name of partnership                                                                                                       D   Employer identification
                                                                                                                                                                                                                            number

RESTAURANT                                                                                 CRAVE BRANDS LLC                                                                                                              XX-XXXXXXX
                                                                                    Type Number, street, and room or suite no. If a P.O. box, see instructions.
B                                       Principal product or service                 or                                                                                                                                 E   Date business started
                                                                                    Print 444 W LAKE STREET, 17TH FLOOR                                                                                                  02/22/2019
FOOD                                                                                         City or town, state or province, country, and ZIP or foreign postal code
                                                                                                                                                                                                                        F   Total assets

C                                       Business code number
722511                                                                                  CHICAGO                                                                                         IL 60606                        $   6,550,059.
G                                               Check applicable boxes:           (1) X  Initial return (2)   Final return     (3)        Name change (4)                                    Address change (5)                  Amended return
H                                               Check accounting method: (1)        Cash            (2)  X Accrual             (3)        Other (specify) |
I                                               Number of Schedules K-1. Attach one for each person who was a partner at any time during the tax year     |                                            6
J                                               Check if Schedules C and M-3 are attached  |
K    Check if partnership: (1)       Aggregated activities for section 465 at-risk purposes (2)    Grouped activities for section 469 passive activity purposes
  Caution: Include only trade or business income and expenses on lines 1a through 22 below. See instructions for more information.
       1 a Gross receipts or sales ~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  1a   11,868,221.
                                                      b Returns and allowances ~~~~~~~~~~~~~~~~~~~~~~~~~~            1b
                                                      c Balance. Subtract line 1b from line 1a ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          1c           11,868,221.
                                                  2     Cost of goods sold (attach Form 1125-A) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              2          3,479,533.
                                                                                                                                                                                                                          8,388,688.
   Income




                                                  3     Gross profit. Subtract line 2 from line 1c ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                          3
                                                  4     Ordinary income (loss) from other partnerships, estates, and trusts (attach statement)                                     ~~~~~~~~~~~                 4
                                                  5     Net farm profit (loss) (attach Schedule F (Form 1040 or 1040-SR)) ~~~~~~~~~~~~~~~~~~~~~                                                                5
                                                  6     Net gain (loss) from Form 4797, Part II, line 17 (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~                                                              6
                                                  7     Other income (loss) (attach statement)                                SEE STATEMENT 2
                                                                                                ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             7                2,624.
                                                  8     Total income (loss). Combine lines 3 through 7                                                                           8            8,391,312.
                                                  9     Salaries and wages (other than to partners) (less employment credits) ~~~~~~~~~~~~~~~~~~~                                                              9            3,830,013.
Deductions (see instructions for limitations)




                                                10      Guaranteed payments to partners                  ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               10
                                                11      Repairs and maintenance ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   11                   170,931.
                                                12      Bad debts ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                          12
                                                13      Rent ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            13              1,101,711.
                                                14                                                   SEE STATEMENT 3
                                                        Taxes and licenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                     14                562,677.
                                                15      Interest (see instructions)             15                                                                                 1,234,286.
                                                16 a Depreciation (if required, attach Form 4562) ~~~~~~~~~~~~~~~~~ 16a         208,033.
                                                   b Less depreciation reported on Form 1125-A and elsewhere on return ~~~~ 16b          16c                                                                                     208,033.
                                                17 Depletion (Do not deduct oil and gas depletion.) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~        17
                                                18      Retirement plans, etc. ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  18
                                                19      Employee benefit programs ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                  19               20,610.
                                                20                                                           SEE STATEMENT 4
                                                        Other deductions (attach statement) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                             20            2,786,230.
                                                21      Total deductions. Add the amounts shown in the far right column for lines 9 through 20                                                    21            9,914,491.
                                                22      Ordinary business income (loss). Subtract line 21 from line 8                                                                22           -1,523,179.
                                                23      Interest due under the look-back method-completed long-term contracts (attach Form 8697) ~~~~~~~~                                                   23
   Tax and Payments




                                                24      Interest due under the look-back method-income forecast method (attach Form 8866) ~~~~~~~~~~~                                                       24
                                                25      BBA AAR imputed underpayment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                        25
                                                26      Other taxes (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                              26
                                                27      Total balance due. Add lines 23 through 26 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                         27
                                                28      Payment (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                 28
                                                29      Amount owed. If line 28 is smaller than line 27, enter amount owed ~~~~~~~~~~~~~~~~~~~~                                                             29
                                                30      Overpayment. If line 28 is larger than line 27, enter overpayment                                                              30
                                                            Under penalties of perjury, I declare that I have examined this return, including accompanying schedules and statements, and to the best of my knowledge
                                                            and belief, it is true,correct, and complete. Declaration of preparer (other than partner or limited liability company member) is based on all information of
Sign                                                        which preparer has any knowledge.


                                                              =                                                                                                               =
                                                                                                                                                                                              May the IRS discuss this return with
Here                                                                                                                                                                  9/14/20                 the preparer shown below?
                                                                   Signature of partner or limited liability company member                                                           Date                 See instr.
                                                                                                                                                                                                                               X Yes                No
                                                            Print/Type preparer's name                                Preparer's signature                                     Date           Check            if       PTIN
                                                           PEGGY VYBORNY                                            PEGGY VYBORNY                                             09/14/20        self-employed              P00834454
Paid                                                         Firm's name      |
Preparer                                                      OSTROW REISIN BERK & ABRAMS, LTD.                                                                                              Firm's EIN    |   XX-XXXXXXX
Use Only                                                     Firm's address |455 N CITYFRONT PLAZA DR, SUITE 1500
                                                              CHICAGO, IL 60611                                                                                                              Phone no.     312-670-7444
LHA For Paperwork Reduction Act Notice, see separate instructions.                                                                                 911001 12-30-19                                                             Form    1065 (2019)
                     Case 21-04729             Doc 1         Filed 04/09/21 Entered 04/09/21 15:46:27                                   Desc Main
                                                              Document     Page 14 of 25
   Form 1065 (2019)      CRAVE BRANDS LLC                                                                                               XX-XXXXXXX            Page 2
     Schedule B          Other Information
     1       What type of entity is filing this return? Check the applicable box:                                                                      Yes         No
         a       Domestic general partnership                             b         Domestic limited partnership
         c   X Domestic limited liability company                         d         Domestic limited liability partnership
         e       Foreign partnership                                      f         Other |
     2       At the end of the tax year:
         a   Did any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust, or tax-
             exempt organization, or any foreign government own, directly or indirectly, an interest of 50% or more in the profit,
             loss, or capital of the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule
             B-1, Information on Partners Owning 50% or More of the Partnership             ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                X
         b   Did any individual or estate own, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of
             the partnership? For rules of constructive ownership, see instructions. If "Yes," attach Schedule B-1, Information
             on Partners Owning 50% or More of the Partnership                                                                X
     3       At the end of the tax year, did the partnership:
         a   Own directly 20% or more, or own, directly or indirectly, 50% or more of the total voting power of all classes of
             stock entitled to vote of any foreign or domestic corporation? For rules of constructive ownership, see instructions.
             If "Yes," complete (i) through (iv) below                 X
                               (i) Name of Corporation                 (ii) Employer
                                                                                     (iii) Country of (iv) Percentage
                                                                                               Identification                                        Owned in
                                                                                              Number (if any)                Incorporation          Voting Stock




         b   Own directly an interest of 20% or more, or own, directly or indirectly, an interest of 50% or more in the profit, loss,
             or capital in any foreign or domestic partnership (including an entity treated as a partnership) or in the beneficial
             interest of a trust? For rules of constructive ownership, see instructions. If "Yes," complete (i) through (v) below             X
                       (i) Name of Entity                         (ii) Employer      (iii) Type of Entity              (iv) Country of     (v) Maximum
                                                                Identification Number                                                            Percentage Owned in
                                                                         (if any)                                            Organization        Profit, Loss, or Capital




     4       Does the partnership satisfy all four of the following conditions?                                                                         Yes        No
         a   The partnership's total receipts for the tax year were less than $250,000.
         b   The partnership's total assets at the end of the tax year were less than $ 1 million.
         c   Schedules K-1 are filed with the return and furnished to the partners on or before the due date (including
             extensions) for the partnership return.
         d   The partnership is not filing and is not required to file Schedule M-3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  X
             If "Yes," the partnership is not required to complete Schedules L, M-1, and M-2; item F on page 1 of Form 1065;
             or item L on Schedule K-1.
     5       Is this partnership a publicly traded partnership, as defined in section 469(k)(2)?                                            X
     6       During the tax year, did the partnership have any debt that was canceled, was forgiven, or had the terms modified
             so as to reduce the principal amount of the debt?                                                               X
     7       Has this partnership filed, or is it required to file, Form 8918, Material Advisor Disclosure Statement, to provide
             information on any reportable transaction?                                                                   X
     8       At any time during calendar year 2019, did the partnership have an interest in or a signature or other authority over
             a financial account in a foreign country (such as a bank account, securities account, or other financial account)?
             See instructions for exceptions and filing requirements for FinCEN Form 114, Report of Foreign Bank and
             Financial Accounts (FBAR). If "Yes," enter the name of the foreign country |                                                                           X
     9       At any time during the tax year, did the partnership receive a distribution from, or was it the grantor of, or
             transferor to, a foreign trust? If "Yes," the partnership may have to file Form 3520, Annual Return To Report
             Transactions With Foreign Trusts and Receipt of Certain Foreign Gifts. See instructions                                            X
   10 a      Is the partnership making, or had it previously made (and not revoked), a section 754 election?            ~~~~~~~~~~~~~~~~                            X
             See instructions for details regarding a section 754 election.
         b   Did the partnership make for this tax year an optional basis adjustment under section 743(b) or 734(b)? If "Yes,"
             attach a statement showing the computation and allocation of the basis adjustment. See instructions                                       X
   911011 12-30-19                                                                                                                            Form 1065         (2019)
                                                                                    2
13300914 311101 07218.000                                                        2019.04020 CRAVE BRANDS LLC                                             07218.01
                     Case 21-04729            Doc 1        Filed 04/09/21 Entered 04/09/21 15:46:27                                Desc Main
                                                            Document     Page 15 of 25
   Form 1065 (2019)        CRAVE BRANDS LLC                                                                                        XX-XXXXXXX         Page 3
     Schedule B            Other Information (continued)
        c   Is the partnership required to adjust the basis of partnership assets under section 743(b) or 734(b) because of a                    Yes    No
            substantial built-in loss (as defined under section 743(d)) or substantial basis reduction (as defined under section
            734(d))? If "Yes," attach a statement showing the computation and allocation of the basis adjustment. See instructions                  X
   11       Check this box if, during the current or prior tax year, the partnership distributed any property received in a
            like-kind exchange or contributed such property to another entity (other than disregarded entities wholly
            owned by the partnership throughout the tax year)       |
   12       At any time during the tax year, did the partnership distribute to any partner a tenancy-in-common or other
            undivided interest in partnership property?                                                       X
   13       If the partnership is required to file Form 8858, Information Return of U.S. Persons With Respect To Foreign
            Disregarded Entities (FDEs) and Foreign Branches (FBs), enter the number of Forms 8858 attached. See
            instructions                                                 |
   14       Does the partnership have any foreign partners? If "Yes," enter the number of Forms 8805, Foreign Partner's
            Information Statement of Section 1446 Withholding Tax, filed for this partnership       |                                             X
   15       Enter the number of Forms 8865, Return of U.S. Persons With Respect to Certain Foreign Partnerships, attached
            to this return                                               |
   16 a     Did you make any payments in 2019 that would require you to file Form(s) 1099? See instructions ~~~~~~~~~~~~~~~                       X
        b   If "Yes," did you or will you file required Form(s) 1099?                                         X
   17       Enter the number of Forms 5471, Information Return of U.S. Persons With Respect To Certain Foreign
            Corporations, attached to this return  |
   18       Enter the number of partners that are foreign governments under section 892  |
   19       During the partnership's tax year, did the partnership make any payments that would require it to file Form 1042
            and 1042-S under chapter 3 (sections 1441 through 1464) or chapter 4 (sections 1471 through 1474)?                             X
   20       Was the partnership a specified domestic entity required to file Form 8938 for the tax year? See the Instructions
            for Form 8938                                                                       X
   21       Is the partnership a section 721(c) partnership, as defined in Regulations section 1.721(c)-1T(b)(14)?                        X
   22       During the tax year, did the partnership pay or accrue any interest or royalty for which the deduction is not allowed under
            section 267A? See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                             X
            If "Yes," enter the total amount of the disallowed deductions      | $
   23       Did the partnership have an election under section 163(j) for any real property trade or business or any farming
            business in effect during the tax year? See instructions                                                X
   24       Does the partnership satisfy one or more of the following? See instructions      ~~~~~~~~~~~~~~~~~~~~~~~~~~                                 X
        a   The partnership owns a pass-through entity with current, or prior year carryover, excess business interest
            expense.
        b   The partnership's aggregate average annual gross receipts (determined under section 448(c)) for the 3 tax years
            preceding the current tax year are more than $26 million and the partnership has business interest.
        c   The partnership is a tax shelter (see instructions) and the partnership has business interest expense.
            If "Yes" to any, complete and attach Form 8990.
   25       Is the partnership electing out of the centralized partnership audit regime under section 6221(b)? See instructions     ~~~~~~~             X
            If "Yes," the partnership must complete Schedule B-2 (Form 1065). Enter the total from Schedule B-2, Part III,
            line 3 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                  |
           If "No," complete Designation of Partnership Representative below.
   Designation of Partnership Representative (see instructions)
   Enter below the information for the partnership representative (PR) for the tax year covered by this return.
   Name of PR |        KW RESTAURANT HOLDINGS, LLC

                         =                                                                                           =
                              1278 GLENNEYRE STREET, SUITE 128                           U.S. phone
   U.S. address of PR
                              LAGUNA BEACH, CA 92651                                     number of PR                    312-670-7444
   If the PR is an entity, name of the designated individual for the PR | STEVE KARFARIDIS



                     =                                                                                           =
                                                                                                    U.S. phone
   U.S. address of                                                                                  number of
   designated            1278 GLENNEYRE STREET, SUITE 128                                           designated
   individual            LAGUNA BEACH , CA 92651                                                    individual       312-670-7444
   26       Is the partnership attaching Form 8996 to certify as a Qualified Opportunity Fund?       ~~~~~~~~~~~~~~~~~~~~~~                             X
            If "Yes," enter the amount from Form 8996, line 14                               |$
   27       Enter the number of foreign partners subject to section 864(c)(8) as a result of transferring all or a portion of an
            interest in the partnership or of receiving a distribution from the partnership  |
   28       At any time during the tax year, were there any transfers between the partnership and its partners subject to the
            disclosure requirements of Regulations section 1.707-8?                                                 X
                                                                                                                                           Form 1065 (2019)
   911021 12-30-19
                                                                               3
13300914 311101 07218.000                                                   2019.04020 CRAVE BRANDS LLC                                           07218.01
                                      Case 21-04729              Doc 1        Filed 04/09/21         Entered 04/09/21 15:46:27 Desc Main
   Form 1065 (2019) CRAVE BRANDS LLC Document                                                       Page 16 of 25              XX-XXXXXXX                       Page 4
     Schedule K Partners' Distributive Share Items                                                                                               Total amount
                              1     Ordinary business income (loss) (page 1, line 22)    ~~~~~~~~~~~~~~~~~~~~~~~~~~                         1    -1,523,179.
                              2     Net rental real estate income (loss) (attach Form 8825)                          2
                              3 a Other gross rental income (loss) ~~~~~~~~~~~~~~~~~~~                    3a
                                b Expenses from other rental activities (attach statement) ~~~~~~~          3b
                                  c Other net rental income (loss). Subtract line 3b from line 3a                     3c
                                    Guaranteed
                              4     payments:      a Services   4a                                 b Capital 4b
                                    c Total. Add lines 4a and 4b ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      4c
        Income (Loss)




                              5     Interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                             5
                              6     Dividends and dividend equivalents:    a Ordinary dividends
                                                                                                                       6a
                                    b Qualified dividends 6b       c Dividend equivalents 6c
                              7     Royalties ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                7
                              8     Net short-term capital gain (loss) (attach Schedule D (Form 1065)) ~~~~~~~~~~~~~~~~~~                   8
                              9 a Net long-term capital gain (loss) (attach Schedule D (Form 1065))                      9a
                                b Collectibles (28%) gain (loss) ~~~~~~~~~~~~~~~~~~~~                   9b
                                c Unrecaptured section 1250 gain (attach statement) ~~~~~~~~~           9c
                             10     Net section 1231 gain (loss) (attach Form 4797) ~~~~~~~~~~~~~~~~~~~~~~~~~~~                            10
                             11     Other income (loss) (see instructions) Type |                                                          11
                             12     Section 179 deduction (attach Form 4562)     ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                             12
        Deductions




                             13 a Contributions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               13a
                                b Investment interest expense ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         13b
                                  c Section 59(e)(2) expenditures: (1) Type |                                              (2) Amount | 13c(2)
                                d Other deductions (see instructions) Type |                                                               13d
                             14 a Net earnings (loss) from self-employment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  14a   -1,135,058.
    Employ-




                                b Gross farming or fishing income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      14b
    ment
    Self-




                                c Gross nonfarm income                                              14c   6,114,739.
                             15 a Low-income housing credit (section 42(j)(5)) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                               15a
                                  b Low-income housing credit (other) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                   15b
        Credits




                                  c Qualified rehabilitation expenditures (rental real estate) (attach Form 3468, if applicable) ~~~~~~~   15c
                                  d Other rental real estate credits (see instructions) Type |                                             15d
                                  e Other rental credits (see instructions)             Type |                                             15e
                                f Other credits (see instructions)                      Type |        SEE STATEMENT 5                      15f          6,319.
                             16 a Name of country or U.S. possession |                                                              ~~
                                  b Gross income from all sources ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                      16b
                                  c Gross income sourced at partner level ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  16c
                                    Foreign gross income sourced at partnership level
      Foreign Transactions




                                  d Reserved for future use |                           e Foreign branch category ~~~~~~~~~ |              16e
                                    Passive
                                  f category |                          g General category |                          h Other ~ |          16h
                                    Deductions allocated and apportioned at partner level
                                  i Interest expense |                                j Other ~~~~~~~~~~~~~~~~~~~                     |    16j
                                    Deductions allocated and apportioned at partnership level to foreign source income
                                  k Reserved for future use |                           l Foreign branch category ~~~~~~~~~ |              16l
                                    Passive
                                  m category |                            n General category |                        o Other ~ |          16o
                                  p Total foreign taxes (check one): |            Paid          Accrued      ~~~~~~~~~~~~~~                16p
                                  q Reduction in taxes available for credit (attach statement) ~~~~~~~~~~~~~~~~~~~~~~                      16q
                                  r Other foreign tax information (attach statement) 
                             17a Post-1986 depreciation adjustment ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                       17a
   Minimum Tax
   (AMT) Items




                               b Adjusted gain or loss ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            17b
   Alternative




                                  c Depletion (other than oil and gas) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                  17c
                                  d Oil, gas, and geothermal properties - gross income ~~~~~~~~~~~~~~~~~~~~~~~~~                           17d
                                  e Oil, gas, and geothermal properties - deductions ~~~~~~~~~~~~~~~~~~~~~~~~~~                            17e
                                  f Other AMT items (attach statement)                                    17f
                             18 a Tax-exempt interest income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                         18a
                                b Other tax-exempt income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           18b
       Other Information




                                                                                            SEE STATEMENT 6
                                c Nondeductible expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            18c        13,959.
                             19 a Distributions of cash and marketable securities ~~~~~~~~~~~~~~~~~~~~~~~~~~~                              19a
                                b Distributions of other property ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                     19b
                             20 a Investment income ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              20a
                                  b Investment expenses ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           20b
                                                                                                   STMT 7
                                  c Other items and amounts (attach statement) 
   911041 12-30-19                                                                                  4                                             Form 1065 (2019)
13300914 311101 07218.000                                                                        2019.04020 CRAVE BRANDS LLC                              07218.01
                       Case 21-04729                        Doc 1           Filed 04/09/21 Entered 04/09/21 15:46:27 Desc Main
   Form 1065 (2019) CRAVE BRANDS LLC                                         Document     Page 17 of 25              XX-XXXXXXX                                                        Page 5
   Analysis of Net Income (Loss)
   1   Net income (loss). Combine Schedule K, lines 1 through 11. From the result, subtract the sum of Schedule K, lines 12 through 13d, and 16p          1       -1,523,179.
   2     Analysis by                                               (ii) Individual             (iii) Individual                                        (v) Exempt                  (vi)
                                     (i) Corporate                     (active)                    (passive)                (iv) Partnership          Organization            Nominee/Other
         partner type:
       a General partners
       b Limited partners                                                                                             -1,523,179.

       Schedule L               Balance Sheets per Books
                                                                                           Beginning of tax year                                            End of tax year
                               Assets
                                                                                     (a)                              (b)                            (c)                         (d)
       1 Cash ~~~~~~~~~~~~~~~~                                                                                                                                                  122,335.
       2a Trade notes and accounts receivable ~
        b Less allowance for bad debts ~~~~
       3 Inventories ~~~~~~~~~~~~~                                                                                                                                              137,538.
       4 U.S. government obligations ~~~~~
       5 Tax-exempt securities ~~~~~~~~
       6 Other current assets (attach statement) ~                   STATEMENT 8                                                                                                 98,176.
       7a Loans to partners (or persons related to partners) ~

        b Mortgage and real estate loans ~~~
       8 Other investments (attach statement) ~
       9a Buildings and other depreciable assets                                                                                                   2,892,344.
        b Less accumulated depreciation ~~~                                                                                                          301,880.            2,590,464.
   10a Depletable assets ~~~~~~~~~~
     b Less accumulated depletion ~~~~~
   11 Land (net of any amortization) ~~~~
   12a Intangible assets (amortizable only) ~~                                                                                                     3,795,625.
     b Less accumulated amortization ~~~                                                                                                             194,079.            3,601,546.
   13 Other assets (attach statement) ~~~
   14 Total assets ~~~~~~~~~~~~~                                                                                                   0.                                    6,550,059.
           Liabilities and Capital
   15 Accounts payable ~~~~~~~~~~                                                                                                                                               343,902.
   16       Mortgages, notes, bonds payable in less than 1 year

   17 Other current liabilities (attach statement) ~                 STATEMENT 9                                                                                                294,228.
   18 All nonrecourse loans ~~~~~~~~
   19a      Loans from partners (or persons related to partners)

        b   Mortgages, notes, bonds payable in 1 year or more                                                                                                            6,500,000.
   20 Other liabilities (attach statement) ~~
   21 Partners' capital accounts ~~~~~~                                                                                                                                   -588,071.
   22 Total liabilities and capital                            0.                                                                                                  6,550,059.
    Schedule M-1 Reconciliation of Income (Loss) per Books With Income (Loss) per Return
                                    Note: The partnership may be required to file Schedule M-3. See instructions.
    1       Net income (loss) per books ~~~~~~~                               -2,088,171. 6 Income recorded on books this year not included
    2       Income included on Schedule K, lines 1, 2, 3c,                                                        on Schedule K, lines 1 through 11 (itemize):
            5, 6a, 7, 8, 9a, 10, and 11, not recorded on books                                                a Tax-exempt interest $
            this year (itemize):
    3 Guaranteed payments (other than health                                                                7 Deductions included on Schedule K, lines 1
      insurance) ~~~~~~~~~~~~~~~~                                                                             through 13d, and 16p, not charged against
    4    Expenses recorded on books this year not included on                                                     book income this year (itemize):
         Schedule K, lines 1 through 13d, and 16p (itemize):                                                  a Depreciation $
            STMT 11                                557,352.
     a Depreciation $                                                                                       8 Add lines 6 and 7 ~~~~~~~~~~~~
     b Travel and entertainment $ 7,640.                         564,992. 9 Income (loss) (Analysis of Net Income (Loss),
    5 Add lines 1 through 4                      -1,523,179.     line 1). Subtract line 8 from line 5                                                 -1,523,179.
       Schedule M-2                 Analysis of Partners' Capital Accounts
    1 Balance at beginning of year ~~~~~~~                                                                  6 Distributions: a Cash ~~~~~~~~~
    2 Capital contributed: a Cash ~~~~~~~                                       1,500,100.                                   b Property ~~~~~~~~
                              b Property ~~~~~~                                                             7 Other decreases (itemize):
    3 Net income (loss) per books ~~~~~~~                                     -2,088,171.
    4 Other increases (itemize):                                                                            8 Add lines 6 and 7 ~~~~~~~~~~~~
    5 Add lines 1 through 4                                               -588,071. 9 Balance at end of year. Subtract line 8 from line 5                     -588,071.
   911042 12-30-19                                                                           5                                                                            Form 1065 (2019)
13300914 311101 07218.000                                                                 2019.04020 CRAVE BRANDS LLC                                                            07218.01
                     Case 21-04729               Doc 1         Filed 04/09/21 Entered 04/09/21 15:46:27                         Desc Main
                                                                Document     Page 18 of 25
   Form          1125-A                                            Cost of Goods Sold
   (Rev. November 2018)                                | Attach to Form 1120, 1120-C, 1120-F, 1120S, or 1065.                                OMB No. 1545-0123
   Department of the Treasury                        | Go to www.irs.gov/Form1125A for the latest information.
   Internal Revenue Service
   Name                                                                                                                             Employer Identification number

            CRAVE BRANDS LLC                                                                                                           XX-XXXXXXX
   1     Inventory at beginning of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                            1
   2     Purchases       ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   2                3,617,071.
   3     Cost of labor    ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                   3
   4     Additional section 263A costs (attach schedule)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                 4
   5     Other costs (attach schedule)   ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                           5
   6     Total. Add lines 1 through 5 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                              6                3,617,071.
   7     Inventory at end of year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                               7                  137,538.
   8     Cost of goods sold. Subtract line 7 from line 6. Enter here and on Form 1120, page 1, line 2 or the
         appropriate line of your tax return. See instructions ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                              8                3,479,533.
   9 a Check all methods used for valuing closing inventory:
       (i)   X Cost
         (ii)        Lower of cost or market
         (iii)       Other (Specify method used and attach explanation) |


       b Check if there was a writedown of subnormal goods ~~~~~~~~~~~~~~~~~~~~~~~                                                     |
       c Check if the LIFO inventory method was adopted this tax year for any goods (if checked, attach Form 970) ~~~~~~~~~~~~~~~~~~~~ |
       d If the LIFO inventory method was used for this tax year, enter amount of closing inventory computed
         under LIFO ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                               9d
       e If property is produced or acquired for resale, do the rules of Section 263A apply to the entity? See instructions ~~~~~~~~~~~~~~             Yes X No
       f Was there any change in determining quantities, cost, or valuations between opening and closing inventory? ~~~~~~~~~~~~~~~                    Yes X No
         If "Yes," attach explanation.


   For Paperwork Reduction Act Notice, see separate instructions.                                                                   Form 1125-A (Rev. 11-2018)




   924441
   04-01-19        LHA
                                                                               6
13300914 311101 07218.000                                                   2019.04020 CRAVE BRANDS LLC                                                   07218.01
                     Case 21-04729                   Doc 1     Filed 04/09/21 Entered 04/09/21 15:46:27                             Desc Main
                                                                Document     Page 19 of 25
   SCHEDULE B-1                                      Information on Partners Owning 50% or
   (Form 1065)                                              More of the Partnership
   (Rev. August 2019)                                                                                                                          OMB No. 1545-0123
   Department of the Treasury
                                                                         J Attach to Form 1065.
   Internal Revenue Service                              J Go to www.irs.gov/Form1065 for the latest information.
   Name of partnership                                                                                                                   Employer identification number



      CRAVE BRANDS LLC                                                                          XX-XXXXXXX
     Part I Entities Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2a (Question 3a for
            2009 through 2017))
   Complete columns (i) through (v) below for any foreign or domestic corporation, partnership (including any entity treated as a partnership), trust,
   tax-exempt organization, or any foreign government that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or capital of the
   partnership (see instructions).
                                (i) Name of Entity                         (ii) Employer            (iii)                    (iv)              (v) Maximum
                                                                          Identification       Type of Entity      Country of Organization Percentage Owned
                                                                         Number (if any)                                                    in Profit, Loss, or
                                                                                                                                                   Capital

   KW RESTAURANT HOLDINGS, LLC                                        XX-XXXXXXX PARTNERSHIP UNITED STATES                                                  72.87




     Part II         Individuals or Estates Owning 50% or More of the Partnership (Form 1065, Schedule B, Question 2b
                     (Question 3b for 2009 through 2017))
   Complete columns (i) through (iv) below for any individual or estate that owns, directly or indirectly, an interest of 50% or more in the profit, loss, or
   capital of the partnership (see instructions).


                      (i) Name of Individual or Estate                    (ii) Identifying   (iii) Country of Citizenship (see instructions)        (iv) Maximum
                                                                         Number (if any)                                                         Percentage Owned
                                                                                                                                                   in Profit, Loss,
                                                                                                                                                       or Capital




   LHA For Paperwork Reduction Act Notice, see the Instructions for Form 1065.                                        Schedule B-1 (Form 1065) (Rev. 8-2019)




   924551 11-13-19
                                                                                 7
13300914 311101 07218.000                                                     2019.04020 CRAVE BRANDS LLC                                                   07218.01
                         Case 21-04729                        Doc 1               Filed 04/09/21 Entered 04/09/21 15:46:27                                                      Desc Main
                                                                                   Document     Page 20 of 25
              4562                                                     Depreciation and Amortization                                                                                         OMB No. 1545-0172

   Form


   Department of the Treasury
                                                                           (Including Information on Listed Property)
                                                                                           | Attach to your tax return.
                                                                                                                                                          OTHER                       1
                                                                                                                                                                                               2019
                                                                                                                                                                                               Attachment
   Internal Revenue Service   (99)                     | Go to www.irs.gov/Form4562 for instructions and the latest information.                                                               Sequence No.   179
   Name(s) shown on return                                                                                             Business or activity to which this form relates                      Identifying number

                                                                                    MEATHEADS RESTAURANTS,
   CRAVE BRANDS LLC                                                                 LLC                                              XX-XXXXXXX
    Part I Election To Expense Certain Property Under Section 179 Note: If you have any listed property, complete Part V before you complete Part I.
    1 Maximum amount (see instructions) ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                1        1,020,000.
    2 Total cost of section 179 property placed in service (see instructions) ~~~~~~~~~~~~~~~~~~~~~                                                                             2
    3 Threshold cost of section 179 property before reduction in limitation ~~~~~~~~~~~~~~~~~~~~~~                                                                              3            2,550,000.
    4 Reduction in limitation. Subtract line 3 from line 2. If zero or less, enter -0- ~~~~~~~~~~~~~~~~~~~                                                                      4
    5 Dollar limitation for tax year. Subtract line 4 from line 1. If zero or less, enter -0-. If married filing separately, see instructions                         5
    6                                        (a) Description of property                                       (b) Cost (business use only)              (c) Elected cost




    7 Listed property. Enter the amount from line 29 ~~~~~~~~~~~~~~~~~~~                      7
    8 Total elected cost of section 179 property. Add amounts in column (c), lines 6 and 7 ~~~~~~~~~~~~~~                                                                       8
    9 Tentative deduction. Enter the smaller of line 5 or line 8 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                   9
   10 Carryover of disallowed deduction from line 13 of your 2018 Form 4562 ~~~~~~~~~~~~~~~~~~~~                                                                               10
   11 Business income limitation. Enter the smaller of business income (not less than zero) or line 5 ~~~~~~~~~                                                                11


                                                                                                                                  9
   12 Section 179 expense deduction. Add lines 9 and 10, but don't enter more than line 11                                                                        12
   13 Carryover of disallowed deduction to 2020. Add lines 9 and 10, less line 12                                                    13
   Note: Don't use Part II or Part III below for listed property. Instead, use Part V.
    Part II             Special Depreciation Allowance and Other Depreciation (Don't include listed property. )
   14 Special depreciation allowance for qualified property (other than listed property) placed in service during
      the tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                                           14
   15 Property subject to section 168(f)(1) election ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                         15
   16 Other depreciation (including ACRS)                                                                                                 16                       5,901.
    Part III MACRS Depreciation (Don't include listed property. See instructions.)
                                                                   Section A
   17 MACRS deductions for assets placed in service in tax years beginning before 2019                                           ~~~~~~~~~~~~~~                                17                    32,477.
   18                                                                                                         J
            If you are electing to group any assets placed in service during the tax year into one or more general asset accounts, check here

                                      Section B - Assets Placed in Service During 2019 Tax Year Using the General Depreciation System
                                                                           (b) Month and        (c) Basis for depreciation
                      (a) Classification of property                        year placed        (business/investment use            (d) Recovery      (e) Convention      (f) Method       (g) Depreciation deduction
                                                                              in service         only - see instructions)              period


   19a           3-year property
        b        5-year property                                                                       903,889. 5                                         HY          200DB                       135,583.
        c        7-year property
        d        10-year property
        e        15-year property                                                                1,355,161. 5                                             HY          200DB                          34,072.
        f        20-year property
        g        25-year property                                                                                                   25 yrs.                                 S/L
                                                                                  /                                                27.5 yrs.              MM                S/L
        h        Residential rental property
                                                                                  /                                                27.5 yrs.              MM                S/L
                                                                                  /                                                 39 yrs.               MM                S/L
        i        Nonresidential real property
                                                                  /                                                 MM         S/L
                                    Section C - Assets Placed in Service During 2019 Tax Year Using the Alternative Depreciation System
   20a           Class life                                                                                                                                                 S/L
     b           12-year                                                                                                             12 yrs.                                S/L
     c           30-year                                                          /                                                  30 yrs.              MM                S/L
     d           40-year                                                          /                                                  40 yrs.              MM                S/L
    Part IV             Summary (See instructions.)
   21 Listed property. Enter amount from line 28 ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~                                                                                            21
   22 Total. Add amounts from line 12, lines 14 through 17, lines 19 and 20 in column (g), and line 21.
            Enter here and on the appropriate lines of your return. Partnerships and S corporations - see instr.                                                        22                 208,033.
   23 For assets shown above and placed in service during the current year, enter the
      portion of the basis attributable to section 263A costs                                                            23
   916251 12-12-19         LHA For Paperwork Reduction Act Notice, see separate8instructions.                                                                                                   Form 4562 (2019)
13300914 311101 07218.000                                                                           2019.04020 CRAVE BRANDS LLC                                                                            07218.01
                     Case 21-04729                Doc 1     Filed 04/09/21 Entered 04/09/21 15:46:27                                             Desc Main
                                                             Document     Page 21 of 25
   Form 4562 (2019)                 CRAVE BRANDS LLC                                                                     XX-XXXXXXX                                                Page 2
    Part V Listed Property (Include automobiles, certain other vehicles, certain aircraft, and property used for
               entertainment, recreation, or amusement.)
               Note: For any vehicle for which you are using the standard mileage rate or deducting lease expense, complete only 24a,
               24b, columns (a) through (c) of Section A, all of Section B, and Section C if applicable.
                  Section A - Depreciation and Other Information (Caution: See the instructions for limits for passenger automobiles.)
   24a Do you have evidence to support the business/investment use claimed?               Yes              No 24b If "Yes," is the evidence written?                      Yes        No
                 (a)                 (b)              (c)                (d)                       (e)             (f)          (g)             (h)                              (i)
         Type of property            Date          Business/                             Basis for depreciation
                                                                                                                Recovery     Method/       Depreciation                      Elected
                                  placed in       investment           Cost or
        (list vehicles first)                                       other basis
                                                                                         (business/investment
                                                                                                                 period    Convention       deduction                      section 179
                                   service      use percentage                                  use only)
                                                                                                                                                                               cost
   25 Special depreciation allowance for qualified listed property placed in service during the tax year and
      used more than 50% in a qualified business use                                                      25



                                          !   !
   26 Property used more than 50% in a qualified business use:



                                          !   !
                                                             %



                                          !   !
                                                             %
                                                        %



                                          !   !
   27 Property used 50% or less in a qualified business use:



                                          !   !
                                                             %                                                           S/L -



                                          !   !
                                                             %                                                           S/L -
                                                             %                                                           S/L -
   28 Add amounts in column (h), lines 25 through 27. Enter here and on line 21, page 1 ~~~~~~~~~~~~ 28
   29 Add amounts in column (i), line 26. Enter here and on line 7, page 1                                                             29
                                                            Section B - Information on Use of Vehicles
   Complete this section for vehicles used by a sole proprietor, partner, or other "more than 5% owner," or related person. If you provided vehicles
   to your employees, first answer the questions in Section C to see if you meet an exception to completing this section for those vehicles.


                                                                         (a)               (b)               (c)               (d)                        (e)                     (f)
   30 Total business/investment miles driven during the                Vehicle           Vehicle           Vehicle           Vehicle                    Vehicle                 Vehicle
      year (don't include commuting miles) ~~~~~~~
   31 Total commuting miles driven during the year ~
   32 Total other personal (noncommuting) miles
       driven~~~~~~~~~~~~~~~~~~~~~
   33 Total miles driven during the year.
      Add lines 30 through 32 ~~~~~~~~~~~~
   34 Was the vehicle available for personal use                  Yes         No      Yes         No     Yes     No       Yes        No          Yes          No          Yes         No
      during off-duty hours? ~~~~~~~~~~~~
   35 Was the vehicle used primarily by a more
      than 5% owner or related person? ~~~~~~
   36 Is another vehicle available for personal
      use? 
                               Section C - Questions for Employers Who Provide Vehicles for Use by Their Employees
   Answer these questions to determine if you meet an exception to completing Section B for vehicles used by employees who aren't
   more than 5% owners or related persons.
   37 Do you maintain a written policy statement that prohibits all personal use of vehicles, including commuting, by your                                                 Yes        No
      employees?~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   38 Do you maintain a written policy statement that prohibits personal use of vehicles, except commuting, by your
      employees? See the instructions for vehicles used by corporate officers, directors, or 1% or more owners ~~~~~~~~~~~~
   39 Do you treat all use of vehicles by employees as personal use? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   40 Do you provide more than five vehicles to your employees, obtain information from your employees about
       the use of the vehicles, and retain the information received? ~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~~
   41 Do you meet the requirements concerning qualified automobile demonstration use? ~~~~~~~~~~~~~~~~~~~~~~~
      Note: If your answer to 37, 38, 39, 40, or 41 is "Yes," don't complete Section B for the covered vehicles.
    Part VI Amortization
                         (a)                               (b)                (c)                    (d)         (e)                                                      (f)
                       Description of costs               Date amortization         Amortizable                 Code                 Amortization                  Amortization
                                                               begins                amount                    section           period or percentage              for this year




                                                               ! !
   42 Amortization of costs that begins during your 2019 tax year:



                                                               ! !
               SEE STATEMENT 12                                                                                                                                        165,894.
   43 Amortization of costs that began before your 2019 tax year ~~~~~~~~~~~~~~~~~~~~~~~~~~                                                     43
   44 Total. Add amounts in column (f). See the instructions for where to report                                             44                     165,894.
   916252 12-12-19                                                                                                                                                     Form 4562 (2019)
                                                                                      9
13300914 311101 07218.000                                                          2019.04020 CRAVE BRANDS LLC                                                                   07218.01
Case 21-04729   Doc 1   Filed 04/09/21 Entered 04/09/21 15:46:27   Desc Main
                         Document     Page 22 of 25
Case 21-04729   Doc 1   Filed 04/09/21 Entered 04/09/21 15:46:27   Desc Main
                         Document     Page 23 of 25
    Case 21-04729   Doc 1   Filed 04/09/21 Entered 04/09/21 15:46:27   Desc Main
                             Document     Page 24 of 25


}
b
k
1
{
C
r
e
d
i
t
o
A
s
M
a
x




                      KW Restaurant Holdings, LLC
                      633 W. North Avenue #527
                      Chicago, IL 60610


                      LQD Financial Corp.
                      370 North Carpenter Street
                      Chicago, IL 60607


                      Meatheads Franchising, LLC
                      350 W. Hubbard St., Suite 640
                      Chicago, IL 60654


                      Meatheads Restaurants, LLC
                      101 California Street
                      Suite 2710
                      San Francisco, CA 94111


                      Steve Karfaridis
                      633 W. North Avenue #527
                      Chicago, IL 60610


                      William J. Factor
                      105 Madison Street
                      Suite 1500
                      Chicago, IL 60602
Case 21-04729   Doc 1   Filed 04/09/21 Entered 04/09/21 15:46:27   Desc Main
                         Document     Page 25 of 25
